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                                                         From: Shane Lamond <869476955>
                                                         To: Enrique Tarrio <581632416>
                                                         We just locked up one of your guys at 14th and K
                                                                                                  12/12/2020 7:30 PM
                                                                                               [Telegram Private Chat]




From: Enrique Tarrio <7869616789>
To: Shane Lamond <2024370434>
2 of my guys stabbed
                                    12/12/2020 9:19 PM
                                            [iMessage]




                                                         From: Shane Lamond <2024370434>
                                                         To: Enrique Tarrio <7869616789>
                                                         I’m hearing may be a total of four.
                                                                                                 12/12/2020 9:20 PM
                                                                                                         [iMessage]




                                                         From: Shane Lamond <2024370434>
                                                         To: Enrique Tarrio <7869616789>
                                                         I’m up at 11th and F now
                                                                                                 12/12/2020 9:21 PM
                                                                                                         [iMessage]




Destruc(on of Property - BLM banner is burned by group, including Tarrio, at church near intersec(on of 11th
Street and E Street, NW, Washington, DC
                                                                                                12/12/2020 (Evening)
                                                                                                     [MPD Case File]




                                                         From: Shane Lamond <shane.lamond@dc.gov>
                                                         To: Leslie Parsons <leslie.parsons@dc.gov>
                                                         David Hong <david.hong@dc.gov>
                                                         et al.


                                                         Re: BLM signs
                                                         "That’s a very tricky quesJon and one that I was
                                                         thinking about this morning. We have supported this
                                                         oﬀense in the past with the burning and destrucJon of
                                                         gay pride ﬂags and such. However, wouldn’t that also
                                                         mean that a lot of the criminal oﬀenses (assaults, the
                                                         stabbing on 11th Street) reported yesterday connected
                                                         to the event would be possible hate crimes?"
                                                                                                12/13/2020 11:11 AM
                                                                                                             [Email]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             Shut Down DC is going aUer Harry’s again. Urging
                                                             people to report them to ABRA.
                                                                                                   12/13/2020 5:07 PM
                                                                                                [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
We didn’t even go into Harry’s
                                      12/13/2020 5:13 PM
                                   [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
What’s ABRA
                                      12/13/2020 5:13 PM
                                   [Telegram Private Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             Alcoholic Beverage Regulatory Agency
                                                                                                   12/13/2020 5:13 PM
                                                                                                [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
What codes would they have broken?
                                      12/13/2020 5:14 PM
                                   [Telegram Private Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             We’re your guys there on Friday?
                                                                                                   12/13/2020 5:15 PM
                                                                                                [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<audio/ogg>
[Audio File Unrecovered]
                                      12/13/2020 5:15 PM
                                   [Telegram Private Chat]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             There may be no evidence to support it but they have
                                                             sent emails to their followers urging them to call ABRA
                                                             and report violaJons and also to call both Harry’s and
                                                             Hotel Harrington and tell them not to let PB back. Just
                                                             giving you a heads up
                                                                                                   12/13/2020 5:17 PM
                                                                                                [Telegram Private Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             On a brighter note, guy who stabbed your guys got
                                                             locked up
                                                                                                   12/13/2020 5:18 PM
                                                                                                [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<audio/ogg>
[Audio File Unrecovered]
                                      12/13/2020 5:26 PM
                                   [Telegram Private Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             I haven’t pulled the report yet but from what I learned
                                                             on the scene last night it was only one person
                                                                                                   12/13/2020 5:27 PM
                                                                                                [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
What’s the general consensus with DC metro and my
guys?
                                      12/13/2020 5:32 PM
                                   [Telegram Private Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             That’s too complicated for a text answer. That’s an in
                                                             person convo over a beer
                                                                                                   12/13/2020 5:43 PM
                                                                                                [Telegram Private Chat]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             That NomadPatriot86 guy I asked you about before
                                                             pisses me oﬀ though. He was posJng shit on Parler
                                                             about behind here this weekend. It took everything I
                                                             had not to call him out on his BS
                                                                                                  12/13/2020 5:45 PM
                                                                                               [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
I’ll be in town Jll Thursday
                                      12/13/2020 5:50 PM
                                   [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
We can go to the Dubliner
                                      12/13/2020 5:50 PM
                                   [Telegram Private Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             Perfect. I won’t be working tomorrow but how about
                                                             Tuesday aUernoon?
                                                                                                  12/13/2020 5:54 PM
                                                                                               [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
Let’s do it
                                      12/13/2020 5:55 PM
                                   [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<audio/ogg>
[Audio File Unrecovered]
                                     12/14/2020 10:52 AM
                                   [Telegram Private Chat]




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From: Enrique Tarrio <581632416>
To: Cuﬀs and gashes <9751355053>
Just contacted my DC metro guy
                                    12/14/2020 10:52 AM
                                   [Telegram Group Chat]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            I know what happened
                                                                                                 12/14/2020 12:05 PM
                                                                                                  [WhatsApp Message]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            Also - I'm having drinks with ET tomorrow aUernoon to
                                                            discuss some things with him
                                                                                                 12/14/2020 12:05 PM
                                                                                                  [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
Eek
                                      12/14/2020 12:05 PM
                                       [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
Is that smart? To do social?
                                      12/14/2020 12:05 PM
                                       [WhatsApp Message]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            It's ﬁne. Only the two of us and at a low key place -
                                                            NOT Harry's
                                                                                                 12/14/2020 12:05 PM
                                                                                                  [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
OK
                                      12/14/2020 12:05 PM
                                      [WhatsApp Message]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             Just heard your message. He will be released at the
                                                             ramp at 3rd and C Streets NW this aUernoon. The
                                                             ramp is at the underpass between MPD headquarters
                                                             and Dept. Of Labor on 3rd Street
                                                                                                12/14/2020 12:46 PM
                                                                                              [Telegram Private Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             Is your guy Corey Nielsen?
                                                                                                12/14/2020 12:47 PM
                                                                                              [Telegram Private Chat]




                                                             From: Jon 2A <669336167>
                                                             To: Enrique Tarrio <581632416>
                                                             hgps://twiger.com/DCPoliceDept/status/1338529064
                                                             353673219?s=09
                                                                                                 12/14/2020 3:26 PM
                                                                                              [Telegram Private Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             How about 4:30 tomorrow at Dubliner?
                                                                                                 12/14/2020 6:31 PM
                                                                                              [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<Reply to: How about 4:30 tomorrow at Dubliner?>
Deal
                                      12/14/2020 6:51 PM
                                   [Telegram Private Chat]



From: Enrique Tarrio <581632416>
To: Jon 2A <669336167>
Yeah I’m following this...meeJng with my DC metro
contact
                                      12/14/2020 9:09 PM
                                   [Telegram Private Chat]




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From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<Reply to: Is your guy Corey Nielsen?>
Yes.
                                        12/14/2020 9:35 PM
                                     [Telegram Private Chat]



                                                                From: Colors&Creed <832743213>
                                                                To: Cuﬀs and gashes <9751355053>
                                                                Corey is sJll in hospital or in custody we haven’t found
                                                                out where but we do know he was arrested they
                                                                charged him with misdemeanor pegy assault so we’re
                                                                hoping it’s all over soon when he is out of the hospital
                                                                or jail some boys back East are going to pick him up
                                                                and bring him to the airport we should know more
                                                                when the lawyer we got for Corey gets back in touch
                                                                with us this morning keep you posted boys
                                                                                                      12/15/2020 7:54 AM
                                                                                                    [Telegram Group Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<audio/ogg>
[Audio File Unrecovered]
                                         12/15/2020 2:03 PM
                                      [Telegram Private Chat]



From: Enrique Tarrio <581632416>
To: Cuﬀs and gashes <9751355053>
DC metro asking about Corey
                                        12/15/2020 2:07 PM
                                      [Telegram Group Chat]




                                                                From: Shane Lamond <869476955>
                                                                To: Enrique Tarrio <581632416>
                                                                Yes. I’m doing this training now but should be done by
                                                                4 so I will be there at 4:30
                                                                                                      12/15/2020 2:09 PM
                                                                                                   [Telegram Private Chat]




From: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
To: Shane Lamond <2024370434>
Shane have you received any informaJon that would
lead you to believe the proud boys are going to be
here for inauguraJon
                                        12/15/2020 2:39 PM
                                                [iMessage]




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                                                                From: Shane Lamond <2024370434>
                                                                To: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
                                                                My source told me months ago they would probably
                                                                be here for inauguraJon but nothing lately. I’m
                                                                meeJng with him this aUernoon so I will conﬁrm
                                                                                                         12/15/2020 2:40 PM
                                                                                                                 [iMessage]



                                                                From: Shane Lamond <869476955>
                                                                To: Enrique Tarrio <581632416>
                                                                On my way now
                                                                                                         12/15/2020 4:14 PM
                                                                                                      [Telegram Private Chat]




                                                                From: Shane Lamond <869476955>
                                                                To: Enrique Tarrio <581632416>
                                                                Have a table in the room to the right when you walk in
                                                                                                         12/15/2020 4:21 PM
                                                                                                      [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
Going down
                                         12/15/2020 4:31 PM
                                      [Telegram Private Chat]




                                                                From: Shane Lamond <2024370434>
                                                                To: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
                                                                Just conﬁrmed that proud boys are not planning on
                                                                coming to DC for inauguraJon at this Jme
                                                                                                         12/15/2020 5:52 PM
                                                                                                                 [iMessage]




From: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
To: Shane Lamond <2024370434>
Hopefully it stays that way
                                        12/15/2020 5:52 PM
                                                [iMessage]




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                                                             From: Shane Lamond <2024370434>
                                                             To: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
                                                             He is not happy with what happened on Saturday and
                                                             admiged that their crowd was way too big and
                                                             unmanageable so he wants to rethink what they will
                                                             do in the future
                                                                                                      12/15/2020 5:54 PM
                                                                                                              [iMessage]



From: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
To: Shane Lamond <2024370434>
How about never come to dc again.


Can he ID those people in the ﬂyers?
                                        12/15/2020 6:04 PM
                                                [iMessage]



                                                             From: Shane Lamond <2024370434>
                                                             To: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
                                                             He’s claiming that he doesn’t recognize them and said
                                                             that he had close to 1,000 members here and doesn’t
                                                             know all of them
                                                                                                      12/15/2020 6:05 PM
                                                                                                              [iMessage]


From: Jeﬀery Carroll <jeﬀery.carroll@dc.gov>
To: Shane Lamond <2024370434>
I bet
                                        12/15/2020 6:06 PM
                                                [iMessage]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <photo>
                                                             [Image Unrecovered]
                                                                                                    12/17/2020 11:26 AM
                                                                                                   [Telegram Private Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>

                                                             You didn’t tell me we are going to be neighbors 😂.
                                                                                                    12/17/2020 11:26 AM
                                                                                                   [Telegram Private Chat]




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From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<audio/ogg>
[Audio File Unrecovered]
                                    12/17/2020 11:48 AM
                                   [Telegram Private Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             If that’s the case sounds like you have a leak...
                                                                                                    12/17/2020 12:00 PM
                                                                                                  [Telegram Private Chat]




                                                                                                                       ~
From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<audio/ogg>
[Audio File Unrecovered]
                                     12/17/2020 12:03 PM
                                   [Telegram Private Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             It’s an AnJfa IG handle
                                                                                                    12/17/2020 12:04 PM
                                                                                                  [Telegram Private Chat]




 From: Enrique Tarrio
 To: Parler
 Tarrio Parler Post:
 "The FBI is currently the [sic] invesJgaJng a supposed ‘hate crime’ perpetrated by the ProudBoys. They’re even
 oﬀering a reward. I’m here to tell you that there was no hate crime commiged. The only hate there is in my
 heart is for communism and an authoritarian government. BLM is a Marxist movement. It isn’t about the color
 of someone’s skin. Against the wishes of my agorney I am here today to admit that I am the person
 responsible for the burning of this sign. And I am not ashamed of what I did because I didn’t do it out of hate…I
 did it out of love. Love for a country that has given my family SO MUCH. The burning of this banner wasn’t
 about race religion or poliJcal ideology it was about a racist movement that has terrorized the ciJzens of this
 country. I will not standby [sic] and watch them burn another city. So let me make this simple. I did it. Come
 get me if you feel like what I did was wrong. We’ll let the public decide. Forever PROUD. -Enrique "




                                                                                                  12/18/2020 12:00 AM
                                                                                                         [Open Source]




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 From: Enrique Tarrio
 To: Washington Post
 Tarrio tells Washington Post in telephone interivew that he burned the BLM banner.
 (hgps://www.washingtonpost.com/local/public-safety/enrique-tarrio-proud-boys-black-lives-mager-
 sign/2020/12/18/c056c05e-415a-11eb-8db8-395dedaaa036_story.html)




                                                                                                12/18/2020 12:00 AM
                                                                                                       [Open Source]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
Did you see the crime solvers Jp?
                                       12/18/2020 7:25 AM
                                      [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
On 12/18/2020 at 0145 hours staJng that a male by
the name of Henry Enrique Carrio who is a member of
the Proud Boys is claiming responsibility for the
destrucJon of property at the church located in the
400 block of 11th Street NW. The caller stated that Mr.
Carrio is living in Miami Florida at 5730 North West
2nd Street
                                       12/18/2020 7:26 AM
                                      [WhatsApp Message]



                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            Oh fuck!
                                                                                                  12/18/2020 7:26 AM
                                                                                                 [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
What?
                                       12/18/2020 7:26 AM
                                      [WhatsApp Message]




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From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
The Jp?
                                       12/18/2020 7:26 AM
                                      [WhatsApp Message]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            Yes! Remember what he told me?
                                                                                                 12/18/2020 7:27 AM
                                                                                                [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
I mean - it's for Mr. Carrio
                                       12/18/2020 7:27 AM
                                      [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
Yes
                                       12/18/2020 7:27 AM
                                      [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
But this Jp is for Carrio 🤣.
                                       12/18/2020 7:27 AM
                                      [WhatsApp Message]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>

                                                            Orrrr the CIC screwed up and got his name wrong 😜.
                                                                                                 12/18/2020 7:28 AM
                                                                                                [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
It's not recorded so the world may never know
                                       12/18/2020 7:29 AM
                                      [WhatsApp Message]




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                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 1> Hey brother, did you call in an
                                                            anonymous Jp to MPD claiming responsibility for the
                                                            banner burning?
                                                                                                   12/18/2020 7:34 AM
                                                                                                 [Telegram Secret Chat]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            I think he called that Jp in on himself because very few
                                                            people know that Henry is his legal name
                                                                                                   12/18/2020 8:12 AM
                                                                                                  [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
Hahaha maybe? I thought it's out there
                                       12/18/2020 8:12 AM
                                      [WhatsApp Message]




From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
I've seen it online before
                                       12/18/2020 8:12 AM
                                      [WhatsApp Message]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            You have? I've always seen Enrique
                                                                                                   12/18/2020 8:13 AM
                                                                                                  [WhatsApp Message]




 From: Carolyn Montagna <2024897859>
 To: Shane Lamond <2024370434>
 <photo>




                                   12/18/2020 8:13 AM
                                  [WhatsApp Message]




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 From: Carolyn Montagna <2024897859>
 To: Shane Lamond <2024370434>
 <photo>




                                    12/18/2020 8:14 AM
                                   [WhatsApp Message]



From: Carolyn Montagna <2024897859>
To: Shane Lamond <2024370434>
It's deﬁnitely out there
                                       12/18/2020 8:14 AM
                                      [WhatsApp Message]




                                                            From: Shane Lamond <2024370434>
                                                            To: Carolyn Montagna <2024897859>
                                                            Ahhhh
                                                                                                  12/18/2020 8:52 AM
                                                                                                 [WhatsApp Message]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 1> I did more than that. It’s on my social
media
                                     12/18/2020 9:30 AM
                                   [Telegram Secret Chat]




                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 2> I gotcha. Someone called in an
                                                            anonymous Jp saying that you claimed responsibility
                                                            for it.
                                                                                                  12/18/2020 9:50 AM
                                                                                                [Telegram Secret Chat]


From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 2> This wasn’t a hate crime. And I want to
see it play out.
                                   12/18/2020 10:05 AM
                                   [Telegram Secret Chat]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 3> I’m curious to see what happens too. I
                                                             will check with our CID people to see if they have you
                                                             on video.
                                                                                                12/18/2020 10:06 AM
                                                                                                [Telegram Secret Chat]



                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 4> Also - you’ve got the FBI and USSS all
                                                             spun up over what was said on InfoWars the other
                                                             night about PB dressing up as Biden supporters on
                                                             InauguraJon Day. Got an email ﬁrst thing this morning
                                                             😳.
                                                                                                12/18/2020 10:08 AM
                                                                                                [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 3> <audio/ogg>
[Audio File Unrecovered]
                                     12/18/2020 10:11 AM
                                    [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 4> <audio/ogg>
[Audio File Unrecovered]
                                    12/18/2020 10:12 AM
                                    [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 5> <audio/ogg>
[Audio File Unrecovered]
                                    12/18/2020 10:21 AM
                                    [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 6> Lol...just searched. I never said this
haha <photo>
[Image Unrecovered]
                                    12/18/2020 10:22 AM
                                    [Telegram Secret Chat]




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From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 7> <audio/ogg>
[Audio File Unrecovered]
                                   12/18/2020 10:30 AM
                                   [Telegram Secret Chat]



                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 9> Lol yep that’s exactly what o [sic] got
                                                            from FBI and USSS
                                                                                               12/18/2020 10:42 AM
                                                                                               [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 8> The video is out there
                                   12/18/2020 10:42 AM
                                   [Telegram Secret Chat]




                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 10> I think it was included. I’m just going
                                                            to let them get all freaked out. They’re idiots
                                                                                               12/18/2020 10:52 AM
                                                                                               [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 9> Lol
                                   12/18/2020 10:52 AM
                                   [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 10> <audio/ogg>
[Audio File Unrecovered]
                                   12/18/2020 10:52 AM
                                   [Telegram Secret Chat]




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                                                           From: Shane Lamond <shane.lamond@dc.gov>
                                                           To: David Hong <david.hong@dc.gov>
                                                           Leslie Parsons <leslie.parsons@dc.gov>
                                                           et al.


                                                           Re: BLM Banner
                                                           "Good AUernoon All, Is anyone aware of whether
                                                           the burning of the BLM banner is being invesJgated
                                                           by the FBI as a possible hate crime? I know we talked
                                                           about it on Sunday but I didn’t hear anything about
                                                           the FBI taking over the invesJgaJon. As you may be
                                                           aware, the current chairman of the Proud Boys,
                                                           Enrique Tarrio, just publicly admiged that he was
                                                           responsible for its destrucJon."
                                                           [A5achment - image001.png]




                                                                                              12/18/2020 2:46 PM
                                                                                                          [Email]




                                                           From: Shane Lamond <shane.lamond@dc.gov>
                                                           To: Carolyn Montagna <carolyn.montagna@dc.gov>
                                                           Leslie Parsons <leslie.parsons@dc.gov>
                                                           Nicole Copeland <nicoleg.copleand@dc.gov>
                                                           et al.
                                                           Re: Phone Tip
                                                           "Please let me know if you need anything related to
                                                           this. I know him so I can probably ﬁll in any blanks
                                                           you may have. I have agached his picture for your
                                                           awareness."
                                                           [A5achment]




                                                                                              12/18/2020 2:50 PM
                                                                                                          [Email]


From: Enrique Tarrio <581632416>
To: Skull and Bones 2020/2021
<4755540701>
We got the jump on the narraJve for the banner
burning. This should make it next to impossible for
them to use the “hate crime” enhancement.
As per my contact at DC metro
                                     12/18/2020 3:33 PM
                                   [Telegram Group Chat]




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From: Enrique Tarrio <581632416>
To: Skull and Bones 2020/2021
<4755540701>
This stays in here
                                     12/18/2020 3:33 PM
                                   [Telegram Group Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 11> So what do you think?
                                     12/18/2020 4:09 PM
                                   [Telegram Secret Chat]




                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 12> About which part? You clearing the
                                                            air about the Biden gear or the BLM banner?
                                                                                               12/18/2020 4:13 PM
                                                                                             [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 12> BLM banner
                                     12/18/2020 4:52 PM
                                   [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 13> You think they’ll make a sJnk of it?
                                     12/18/2020 4:52 PM
                                   [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 14> <Reply to: About which part? You
clearing the air about the Biden gear or the BLM
banner?>
The Biden gear is a non issue.
                                     12/18/2020 4:53 PM
                                   [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 15> That’s just media retards
                                     12/18/2020 4:53 PM
                                   [Telegram Secret Chat]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 13> No, a bit of the opposite. I’ve been
                                                             talking to CID about it. They wanted to know what I
                                                             know about your group and if I think you all are racist.
                                                             I told them you are made up of a lot of LaJnos and
                                                             blacks so not a racist thing. If anything I said it’s
                                                             poliJcal but then I drew agenJon to the Trump and
                                                             American ﬂags that were taken by AnJfa and set on
                                                             ﬁre. I said all those would have to be classiﬁed as hate
                                                             crimes too. It’s not being invesJgated by FBI though.
                                                             Just us (MPD)
                                                                                                   12/18/2020 4:55 PM
                                                                                                 [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 16> Ahhhh ok!
                                      12/18/2020 4:55 PM
                                    [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 17> Awesome.
                                      12/18/2020 4:56 PM
                                    [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Skull and Bones 2020/2021
<4755540701>
For our eyes only.
                                      12/18/2020 4:56 PM
                                    [Telegram Group Chat]




From: Enrique Tarrio <581632416>
To: Skull and Bones 2020/2021
<4755540701>
No, a bit of the opposite. I’ve been talking to CID about
it. They wanted to know what I know about your group
and if I think you all are racist. I told them you are
made up of a lot of LaJnos and blacks so not a racist
thing. If anything I said it’s poliJcal but then I drew
agenJon to the Trump and American ﬂags that were
taken by AnJfa and set on ﬁre. I said all those would
have to be classiﬁed as hate crimes too. It’s not being
invesJgated by FBI though. Just us (MPD)
                                      12/18/2020 4:56 PM
                                    [Telegram Group Chat]




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From: Enrique Tarrio <7869616789>
To: Amy Harris Photo <9312614575>
Ok so oﬀ the record… You won’t be having any fun
watching me get put away
                                       12/18/2020 4:57 PM
                                               [iMessage]




                                                               From: Shane Lamond <869476955>
                                                               To: Enrique Tarrio <581632416>
                                                               <MessageID 14> I don’t think they have any pictures of
                                                               you though
                                                                                                       12/18/2020 4:58 PM
                                                                                                     [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Mexizzachet <968117524>
So I just got word
                                        12/18/2020 4:58 PM
                                     [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Mexizzachet <968117524>
We’re clear on the banner
                                        12/18/2020 4:59 PM
                                     [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 18> Strange
                                       12/18/2020 4:59 PM
                                     [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Amy Harris Photo <14121086837>
DC metro just told me they won’t be pursuing it
                                       12/18/2020 5:16 PM
                                     [Telegram Secret Chat]




                                                               From: Amy Harris Photo <1472679606>
                                                               To: Enrique Tarrio <581632416>
                                                               What about the FBI
                                                                                                    12/18/2020 5:16 PM
                                                                                                 [Telegram Private Chat]




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From: Enrique Tarrio <581632416>
To: Amy Harris Photo <14121086837>
FBI isn’t invesJgaJng
                                       12/18/2020 5:16 PM
                                     [Telegram Secret Chat]




                                                              From: Amy Harris Photo <1472679606>
                                                              To: Enrique Tarrio <581632416>
                                                              Are they going to sJll look for your guys
                                                                                                    12/18/2020 5:16 PM
                                                                                                 [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Amy Harris Photo <14121086837>
They signal boosted DC metro
                                       12/18/2020 5:16 PM
                                     [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Amy Harris Photo <14121086837>
They can’t because they’re not invesJgaJng
                                       12/18/2020 5:17 PM
                                     [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 19> <photo>
[Image Unrecovered]
                                     12/19/2020 12:53 AM
                                     [Telegram Secret Chat]



                                                              From: Shane Lamond <869476955>
                                                              To: Enrique Tarrio <581632416>
                                                              <MessageID 15> Got it. We will see if we can ID the
                                                              person
                                                                                                      12/19/2020 3:11 AM
                                                                                                    [Telegram Secret Chat]




                                                              From: Shane Lamond <869476955>
                                                              To: Enrique Tarrio <581632416>
                                                              <MessageID 16> <photo>
                                                              [Image Unrecovered]
                                                                                                      12/19/2020 8:06 AM
                                                                                                    [Telegram Secret Chat]


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                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 17> Have you heard anything about this?
                                                            Is this legit?
                                                                                                 12/19/2020 8:06 AM
                                                                                               [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 20> <audio/ogg>
[Audio File Unrecovered]
                                   12/19/2020 10:26 AM
                                   [Telegram Secret Chat]



                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 19> No, we really can’t catch a break. I
                                                            just found the arJcle wrigen by Cassandra. I just asked
                                                            her if she thinks this is going to grow legs. Would you
                                                            let me know if your group decides to parJcipate?
                                                                                               12/19/2020 10:49 AM
                                                                                               [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 21> If we do it’ll be extremely small and
not in colors...no night March
                                    12/19/2020 10:59 AM
                                   [Telegram Secret Chat]




                                                            From: Shane Lamond <869476955>
                                                            To: Enrique Tarrio <581632416>
                                                            <MessageID 20> Copy that. I appreciate it.
                                                                                               12/19/2020 11:00 AM
                                                                                               [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 22> <applicaJon/pdf> The 2020 ElecJon
DisrupJon Guide by AnJfa.pdf
[A5achment Unrecovered]
                                   12/19/2020 11:02 AM
                                   [Telegram Secret Chat]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 21> Thanks, brother. We’ve had that for a
                                                             few months now. They posted that on a website a
                                                             while ago.
                                                                                               12/19/2020 11:05 AM
                                                                                               [Telegram Secret Chat]


From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 23> I don’t know if it’s legit
                                    12/19/2020 11:10 AM
                                    [Telegram Secret Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 22> We think it was more of a poison pen
                                                             document. The person who posted it wanted to sJr
                                                             shit up but we didn’t see any of this actually
                                                             materialize
                                                                                               12/19/2020 11:12 AM
                                                                                               [Telegram Secret Chat]




                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 23> <photo>




                                                                                              12/19/2020 11:31 AM
                                                                                              [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 24> <Reply to: MessageID 23>
😬.
                                     12/19/2020 11:31 AM
                                    [Telegram Secret Chat]




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                                                             From: Shane Lamond <869476955>
                                                             To: Enrique Tarrio <581632416>
                                                             <MessageID 24> It’s growing legs alright…
                                                             hgps://fox5dc.com/news/trump-promises-wild-
                                                             protest-in-dc-on-jan-6-the-day-congress-to-count-
                                                             electoral-votes




                                                                                                12/19/2020 11:41 AM
                                                                                                [Telegram Secret Chat]




From: Enrique Tarrio <7869616789>
To: Amy Harris Photo <9312614575>
FBI said they’ll “look into it”
                                    12/19/2020 12:04 PM
                                             [iMessage]




                                                            From: Shane Lamond <2024370434>
                                                            To: <iMessage Group Chat 6376016548877529>
                                                            Carolyn Montagna <2024897859>
                                                            Jeﬀery Carroll <2024378198>
                                                            et al.
                                                            From my source about Jan. 6:


                                                            If we do it’ll be extremely small and not in colors...no
                                                            night March
                                                                                                   12/19/2020 3:32 PM
                                                                                                           [iMessage]

From: Franklyn Then <2404187386>
To: Shane Lamond <2024370434>
Incoming Call from 2404187386 | Answered |
DuraJon: 5:19
                                     12/19/2020 5:58 PM
                                             [Phone Call]



                                                            From: Shane Lamond <2024370434>
                                                            To: Franklyn Then <2404187386>
                                                            Outgoing Call to 2404187386 | Answered |
                                                            DuraJon: 1:17
                                                                                                   12/19/2020 6:06 PM
                                                                                                           [Phone Call]




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                                                          From: Shane Lamond <2024370434>
                                                          To: Franklyn Then <2404187386>
                                                          Outgoing Call to 2404187386 | Answered |
                                                          DuraJon: 1:33
                                                                                               12/19/2020 6:30 PM
                                                                                                       [Phone Call]



From: Franklyn Then <2404187386>
To: Shane Lamond <2024370434>
Incoming Call from 2404187386 | Voicemail |
DuraJon: 0:02
                                   12/19/2020 7:08 PM
                                           [Phone Call]



From: Franklyn Then <2404187386>
To: Shane Lamond <2024370434>
Incoming Call from 2404187386 | Voicemail |
DuraJon: 0:02
                                   12/19/2020 7:34 PM
                                           [Phone Call]



                                                          From: Shane Lamond <2024370434>
                                                          To: Franklyn Then <2404187386>
                                                          Outgoing Call to 2404187386 | Answered |
                                                          DuraJon: 1:43
                                                                                               12/19/2020 7:43 PM
                                                                                                       [Phone Call]



                                                          From: Shane Lamond <869476955>
                                                          To: Enrique Tarrio <581632416>
                                                          <MessageID 25> Police want to talk to you about the
                                                          banner. You have a certain phone number you want
                                                          me to give them?
                                                                                              12/19/2020 7:48 PM
                                                                                            [Telegram Secret Chat]




                                                          From: Shane Lamond <shane.lamond@dc.gov>
                                                          To: Franklyn Then <Franklyn.Then@dc.gov>
                                                          Re: Subject in photo
                                                          Henry "Enrique" Tarrio
                                                          H/M DOB 2/9/1984
                                                          LKA: 5730 NW 2nd Street, Miami, FL
                                                          Phone: 786-961-6789
                                                                                               12/19/2020 8:14 PM
                                                                                                           [Email]




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                                                              From: Briam AG <559462827>
                                                              To: State Head Leadership Chat
                                                              <9893590771>
                                                              Your admiged relaJonship with law enforcement,
                                                              combined with your support of Biggs when he
                                                              threatened to have brothers arrested, and your
                                                              willingness to turn yourself in... leads alot of us to
                                                              believe that you may have some reason to be
                                                              conﬁdent the law is not a threat to you. The rest of us
                                                              dont have this level of faith and trust in the pigs.
                                                                                                  12/20/2020 12:50 PM
                                                                                                 [Telegram Group Chat]



From: Enrique Tarrio <581632416>
To: State Head Leadership Chat
<9893590771>
I admiged to talking to them about our movements in
DC. And not on this last trip...that’s not a secret. Never
was. Anyone who has ever planned something with
me knows I contact local LEO to keep a level of
separaJon between the groups.
                                      12/20/2020 12:55 PM
                                     [Telegram Group Chat]



From: Enrique Tarrio <581632416>
To: State Head Leadership Chat
<9893590771>
Stay on topic...we’re talking about contacJng LEO here
                                      12/20/2020 12:58 PM
                                     [Telegram Group Chat]




From: Enrique Tarrio <581632416>
To: State Head Leadership Chat
<9893590771>
I literally just contact them when we’re in town...
                                       12/20/2020 1:04 PM
                                     [Telegram Group Chat]


From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 25> <Reply to: Police want to talk to you
about the banner. You have a certain phone number
you want me to give them?> Miami Dade PD reached
out. I’m going to use my 5th. I’ll be in DC on the 6th if
MDC wants to talk to me they can see me there. Are
they pushing the hate crime thing?
                                       12/20/2020 4:40 PM
                                     [Telegram Secret Chat]




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                                                               From: Shane Lamond <869476955>
                                                               To: Enrique Tarrio <581632416>
                                                               <MessageID 26> Give me a call when you can
                                                                                                   12/20/2020 4:51 PM
                                                                                                 [Telegram Secret Chat]



From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
<MessageID 26> Through here?
                                        12/20/2020 4:51 PM
                                      [Telegram Secret Chat]




From: Enrique Tarrio <581632416>
To: Shane Lamond <869476955>
Outgoing Call to Shane FBI Police |
DuraJon: 411 seconds
                                       12/20/2020 4:52 PM
                                            [Telegram Call]



                                                               From: Shane Lamond <shane.lamond@dc.gov>
                                                               To: Leslie Parsons <leslie.parsons@dc.gov>
                                                               FW: Subject in photo
                                                               "Good Evening Commander, I have viewed the
                                                               agached photograph and it is diﬃcult for me to
                                                               conclusively idenJfy with 100% certainty that the
                                                               individual depicted in this photograph is Mr. Henry
                                                               “Enrique” Tarrio since I cannot see his whole face.
                                                               However, I physically observed Mr. Tarrio on
                                                               December 12th and have reviewed mulJple videos
                                                               that captured him on December 12th in Washington,
                                                               DC. Based on a comparison of those videos with the
                                                               agached photograph, I believe this is Mr. Henry
                                                               “Enrique” Tarrio kneeling down next to the banner
                                                               based on the clothing he is wearing, the placement
                                                               of the patches and the drink on his tacJcal vest, and
                                                               the limited view of his face."




                                                                                                  12/20/2020 6:02 PM
                                                                                                              [Email]




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                                                             From: Shane Lamond <shane.lamond@dc.gov>
                                                             To: Leslie Parsons <leslie.parsons@dc.gov>
                                                             Nicole Copeland <nicoleg.copleand@dc.gov>
                                                             Re: Tarrio?
                                                             "The ﬁrst picture from the arJcle is one of the
                                                             pictures I reviewed. That is 100% him and accurately
                                                             depicts how he looked when I physically observed
                                                             him on December 12th. The second and third
                                                             pictures appear to be the same guy who was
                                                             kneeling down next to the banner in the original
                                                             photograph I was asked to idenJfy. Again, I believe
                                                             that is Mr. Tarrio based on the clothing he is wearing,
                                                             the placement of the patches and the drink on his
                                                             tacJcal vest, and the limited view of his face.


                                                             I forgot to provide the background on my familiarity
                                                             with Mr. Tarrio in my previous email. I have known
                                                             him for almost 1.5 years, since meeJng him while
                                                             working the Demand Free Speech First Amendment
                                                             event in July 6, 2019. I have seen him in person and
                                                             spoken with him approx. 5-6 Jmes since ﬁrst
                                                             meeJng him in July 2019."




                                                                                                 12/20/2020 7:16 PM
                                                                                                             [Email]



                                                             From: Shane Lamond <2024370434>
                                                             To: Carolyn Montagna <2024897859>
                                                             Also - Parsons has called me mulJple Jmes this
                                                             evening. They are really going aUer ET
                                                                                                  12/20/2020 7:19 PM
                                                                                                 [WhatsApp Message]




From: Enrique Tarrio <581632416>
To: Oly <850106533>
They don’t have anything. Just conﬁrmed...they’re
searching
                                      12/20/2020 7:31 PM
                                   [Telegram Private Chat]




From: Enrique Tarrio <581632416>
To: Oly <850106533>
That’s why they want to talk
                                      12/20/2020 7:31 PM
                                   [Telegram Private Chat]




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From: Enrique Tarrio <581632416>
To: Oly <850106533>
[Message Unrecovered]
                                      12/20/2020 7:31 PM
                                   [Telegram Private Chat]




                                                             From: Oly <850106533>
                                                             To: Enrique Tarrio <581632416>
                                                             Do what MarJn said. If you do that they can't talk to
                                                             you
                                                                                                   12/20/2020 7:32 PM
                                                                                                [Telegram Private Chat]




                                                             From: Oly <850106533>
                                                             To: Enrique Tarrio <581632416>
                                                             <Photo>
                                                             [Message Unrecovered]
                                                                                                   12/20/2020 7:34 PM
                                                                                                [Telegram Private Chat]




                                                             From: Oly <850106533>
                                                             To: Enrique Tarrio <581632416>
                                                             Once you do this they can't talk to you
                                                                                                   12/20/2020 7:42 PM
                                                                                                [Telegram Private Chat]



From: Enrique Tarrio <581632416>
To: Oly <850106533>
I don't think they can force me to talk to them
regardless of legal representaJon. I'm going to get my
lawyer to do it anyway
                                      12/20/2020 7:43 PM
                                   [Telegram Private Chat]



                                                             From: Oly <850106533>
                                                             To: Enrique Tarrio <581632416>
                                                             They will try if you are not lawyered up
                                                                                                   12/20/2020 7:43 PM
                                                                                                [Telegram Private Chat]




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             Case 1:23-cr-00177-ABJ Document 47-2 Filed 01/29/24 Page 30 of 30
December 12, 2020, 7:30 PM – December 20, 2020


                                             From: Oly <850106533>
                                             To: Enrique Tarrio <581632416>
                                             Will explain on a case that I have when I see you. They
                                             haven't been able to arrest him because of this. They
                                             have nothing on him so they were hoping to talk to
                                             him but he lawyered up.
                                                                                   12/20/2020 7:44 PM
                                                                                [Telegram Private Chat]




                                             From: Oly <850106533>
                                             To: Enrique Tarrio <581632416>
                                             Your pain in the ass baby sister wants to know if you
                                             contacted the agorney
                                                                                   12/20/2020 9:56 PM
                                                                                [Telegram Private Chat]




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